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                                  UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF COLORADO

 In re:                                             )
                                                    )
 11380 SMITH RD LLC                                 )        Case No. 18-10965 TBM
 EIN XX-XXXXXXX                                     )        Chapter 11
                                                    )
 Debtor.                                            )


           NOTICE OF HEARING ON ADEQUACY OF AMENDED DISCLOSURE STATEMENT
                                AND DEADLINE TO OBJECT


 TO THE DEBTOR, CREDITORS, EQUITY HOLDERS, AND ALL OTHER PARTIES IN INTEREST:

          NOTICE IS HEREBY GIVEN that an Amended Disclosure Statement was filed by the Debtor, 11380
 Smith Rd LLC (the “Plan Proponent”), on July 11, 2018. Pursuant to Order of the Court, a Hearing will be held
 on the adequacy of such Disclosure Statement at 1:30 p.m., on THURSDAY, AUGUST 30, 2018, in
 Courtroom E, United States Bankruptcy Court for the District of Colorado, United States Custom House, 721
 19th Street, Denver, Colorado 80202 (the “Hearing”).

          Pursuant to Local Bankruptcy Rule 3017-1, any objections to the Disclosure Statement shall be made
 in writing and the original of the objection shall be filed with the Court and a copy served on the attorney for
 the Plan Proponent, the Debtor, and counsel for Debtor, the United States Trustee, and the Trustee, if any,
 counsel for the Creditors’ Committee (or when there is no counsel, to the Committee Chairperson), applicable
 regulatory agencies, including without limitation, the Securities and Exchange Commission and the
 Commissioner of Securities of the State of Colorado by August 15, 2018. Objections shall clearly specify the
 grounds upon which they are based, including the citation of supporting legal authority, if any, and references
 to the particular portions of the statement to which objections are made. General objections will not be
 considered by the Court.

         The Disclosure Statement is available for public inspection from 8:00 a.m. to 4:30 p.m. during any
 regular business day in the Clerk’s Office of the U.S. Bankruptcy Court for the District of Colorado, U.S.
 Custom House, 721 19th Street, Denver, Colorado 80202-2508. Any interested party who desires a copy of
 the Disclosure Statement or Plan may submit such request to the proponent of the Disclosure Statement or
 Plan at the address stated below, with a copy of that request to the Clerk of the Bankruptcy Court. The
 proponent shall promptly provide the requested copy.

          The Hearing may be continued from time to time by Order made in Open Court without further written
 notice to creditors or other parties in interest.

 DATED: July 23, 2018                               Respectfully Submitted,

                                                    WEINMAN & ASSOCIATES, P.C.


                                                    By: /s/ Jeffrey A. Weinman
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